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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             v.                               )              8:05CR163
                                              )
JAZMIN CERNA and DANIEL CERNA,                )               ORDER
                                              )
                    Defendants.               )


      The government’s motion to continue (Filing No. 65) is granted.
      IT IS ORDERED that the evidentiary hearing on all pending motions is continued to
July 27, 2005, at 2:00 p.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7,
Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
Defendants must be present for the hearing.
      DATED this 14th day of July, 2005.
                                        BY THE COURT:
                                        s/Thomas D. Thalken
                                        United States Magistrate Judge
